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   16
   17
                            UNITED STATES DISTRICT COURT
   18                     SOUTHERN DISTRICT OF CALIFORNIA
   19   IN RE:                                    NO. 17-CV-0108-GPC-MDD
   20   QUALCOMM LITIGATION                       QUALCOMM
                                                  INCORPORATED’S
   21                                             MEMORANDUM OF POINTS
                                                  AND AUTHORITIES IN
   22                                             SUPPORT OF JOINT MOTION
                                                  REGARDING MODIFICATION
   23                                             OF CASE SCHEDULE
   24                                             Judges: Hon. Gonzalo P. Curiel
   25                                                     Hon. Mitchell D. Dembin

   26
   27
   28
                                                                 Case No. 17-CV-0108-GPC-MDD
                                                 QUALCOMM’S MPA IN SUPPORT OF JOINT MOTION
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    1   I.    INTRODUCTION
    2         The August 18, 2017 Scheduling Order (“Scheduling Order”) set a logical
    3   and efficient path to getting this case trial-ready by the fall of 2018. The proposal
    4   by Apple and the CMs seeks to entirely rewrite that schedule on the flawed premise
    5   that fact discovery and expert discovery cannot overlap. But the Court already
    6   decided five months ago that they could—for good reason—when it ordered fact
    7   and expert discovery to close on the exact same day. Neither Apple nor the CMs
    8   objected at the time. And nothing has changed since.
    9         The true purpose of Apple’s and the CMs’ motion is simple—delay. Delay
   10   benefits Apple and hurts Qualcomm. Apple has instructed the CMs to withhold
   11   billions of dollars of royalties from Qualcomm and, as a result, every quarter that
   12   passes harms Qualcomm by depriving it of the benefit of its existing agreements.
   13   Apple is trying to make the commercial consequences of litigating so unbearable
   14   that Qualcomm never gets its day in court; one aspect of that strategy is to delay
   15   resolution of the litigation as long as possible.
   16         A party seeking to amend a scheduling order must show “good cause” by
   17   satisfying two elements—that the moving party has been diligent and that the non-
   18   moving party will not be prejudiced. Apple and the CMs cannot satisfy either.
   19         First, Apple and the CMs have not been diligent. Instead, they have been
   20   intentionally trying to delay these cases.
   21         •      Apple refused to meet and confer in good faith about basic discovery
                     issues, forcing Qualcomm to file multiple lengthy motions that could
   22
                     have been avoided.
   23
              •      After a year, Apple has not settled on how it will review the
   24                documents it has agreed to search for and produce specific to these
                     cases.
   25
              •      The CMs have refused for months to provide information about their
   26
                     custodians and search terms, preventing the parties from reaching
   27                agreement on those basic issues.
   28
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    1   Apple was sanctioned as a result of similar conduct in the related cases pending
    2   before Judge Koh and Magistrate Judge Cousins in the Northern District of
    3   California (the “N.D. Cal. Cases”). Magistrate Judge Cousins, recently noting that
    4   Apple and the CMs have decided it is “economically beneficial to delay” and that
    5   the “same behavior” has been occurring in another Apple case in his court, also said
    6   “[t]hat’s an economic decision, from where I stand”. (Decl. of J. Wesley Earnhardt,
    7   Ex. 1, at 13:12-13.) Apple’s dilatory tactics should be rejected here, too.
    8         Second, Qualcomm would be severely prejudiced by any delay. Because
    9   Apple has instructed the CMs to withhold royalty payments, Qualcomm is losing
   10   nearly $1 billion a quarter in revenue. The four months of delay proposed by Apple
   11   and the CMs amount to yet another $1 billion withheld and, equally important, are
   12   another four months before Qualcomm can have a trial to determine whether it gets
   13   back the billions of dollars withheld so far. Qualcomm also would be prejudiced in
   14   litigating these cases. It has worked tirelessly, including by hiring hundreds of
   15   lawyers to review documents, and by compromising on Apple’s and the CMs’
   16   unreasonable production demands, to comply with the Court-ordered deadlines and
   17   to avoid any delay of the trial date. All of that would be for naught should Apple
   18   and the CMs be allowed unilaterally to extend the schedule.
   19         Apple’s and the CMs’ proposed schedule is not only unwarranted and unfair,
   20   but it also makes no sense. For example, Apple and the CMs refuse to agree to a
   21   February 28, 2018 substantial completion deadline (a date more than 13 months
   22   after Apple filed suit), saying that date is impractical, but they then propose to keep
   23   the May 11, 2018 fact discovery cutoff, virtually guaranteeing no time for fact
   24   depositions. In fact, Apple and the CMs admit that they will likely need to adjust
   25   the fact discovery cutoff at some future date. Even they do not believe their own
   26   proposed schedule is workable. Similarly, Apple’s and the CMs’ proposed
   27   staggering of fact and expert discovery would mean that fact discovery would have
   28   to be reopened should the parties discover gaps in the factual record during expert
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    1   discovery. The Scheduling Order set by the Court specifically avoids that problem.
    2         Qualcomm is willing and able to comply with the current Scheduling Order.
    3   If Qualcomm can meet the schedule—despite being significantly smaller than
    4   Apple, and while facing lawsuits in numerous jurisdictions—it defies logic that the
    5   richest corporation on the planet cannot. Nevertheless, Qualcomm has proposed a
    6   set of revisions to the Scheduling Order that are responsive to Apple’s and the
    7   CMs’ stated concerns, maintain the Court’s trial-ready date, and get these cases to
    8   trial in 2018. Qualcomm requests that its schedule be entered.
    9                    Event               Current Deadline           New Deadline
           Substantial Completion of                 N/A              February 28, 2018
   10      Document Production
   11      Last for Parties to Make
           Available for Deposition
   12      Witnesses Requested by Another            N/A                May 11, 2018
           Party for Expert Discovery or
   13      Summary Judgment
           Close of Written Discovery            May 11, 2018           May 11, 2018
   14
           Close of All Fact Discovery           May 11, 2018           June 18, 2018
   15      Expert Reports on Topics for
           Which Parties Bear Initial          March 12, 2018           May 18, 2018
   16      Burden of Proof
   17      All Other Expert Reports             April 13, 2018          June 18, 2018
           Close of Expert Discovery             May 11, 2018            July 20, 2018
   18
           Summary Judgment                      June 22, 2018          June 22, 2018
   19      Daubert / Motions in Limine           June 22, 2018          August 8, 2018
   20      Pre-Trial Disclosures                 June 22, 2018               TBD
           Hearing on Dispositive Motions            TBD                     TBD
   21
           Local Rule 16.1(f)(4) M&C         September 7, 2018        September 7, 2018
   22      Pre-Trial Order Draft Served     September 14, 2018 September 14, 2018
   23      Pre-Trial Order Due              September 21, 2018 September 21, 2018
           Final Pre-Trial Conference       September 28, 2018 September 28, 2018
   24
           Trial                                     TBD               October 15, 2018
   25   II.     APPLE’S AND THE CMS’ MOTION TO MODIFY THE SCHEDULE
   26           SHOULD BE DENIED
   27         A.     Legal Standard.
   28         “A scheduling order is not a mere suggestion or a trifle that can be
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    1   disregarded when it becomes inconvenient; it is an order from the court”, and,
    2   “[j]ust like any other order, the court expects compliance.” Tessera, Inc. v. Sony
    3   Corp., No. 5:11–cv–04399 EJD, 2013 WL 97794, at *3 (N.D. Cal. Jan. 7, 2013). A
    4   party seeking to amend a court-ordered schedule must show “good cause”, which
    5   has two elements. See Fed R. Civ. P. 16(b)(4). First, the moving party must show
    6   that it was diligent—i.e., that its “reasons for seeking modification” are not of its
    7   own making. Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir.
    8   1992). “If that [moving] party was not diligent, the inquiry should end.” Id.
    9   Second, even if the moving party was diligent, it still must show a lack of prejudice
   10   to the nonmoving party. “[T]he existence or degree of prejudice to the party
   11   opposing the modification might supply additional reasons to deny a motion.” Id.
   12         B.     Apple and the CMs Have Not Been Diligent.
   13         A “good cause” analysis “primarily considers the diligence of the party
   14   seeking the amendment.” Johnson, 975 F.2d at 609. Apple and the CMs have been
   15   far from diligent.
   16         Time and again, Apple has dragged its feet on custodians, search terms,
   17   written discovery and document productions, and has refused to meet and confer in
   18   good faith about those subjects. Notably, as a result of Apple’s intransigence,
   19   Qualcomm was forced to file a 424-page joint motion, which should never have
   20   been necessary. (See Dkt. No. 152.) On September 6, 2017, in response to
   21   Qualcomm’s First Set of RFPs, Apple simply refused to produce any documents as
   22   to 108 of them. (See Dkt. No. 149-01, Decl. of Michael Fazio, dated Oct. 6, 2017,
   23   ¶ 2.) Qualcomm sent Apple a detailed meet-and-confer letter on September 12,
   24   2017 (six days after receiving Apple’s responses), but Apple refused to respond or
   25   otherwise meet and confer at all for 17 days—waiting until after the date
   26   Qualcomm was required to prepare and provide its Joint Motion to Apple. (Id.
   27   ¶¶ 2-7.) When Apple finally agreed to meet and confer on October 3, it was, even
   28   then, prepared to discuss only ten RFPs, and as to all RFPs, flatly declared that it
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    1   was not able to agree to any compromises. (Id. ¶¶ 9-10.) In the end, as to over 100
    2   RFPs, Apple either failed to confer in a timely manner or refused to agree to
    3   produce any responsive documents. (Id. ¶¶ 9-11.) Those disputes still linger.1
    4          And that story has repeated itself over and over again. (See Dkt. No. 176,
    5   at 1 (Apple refused to search for responsive documents from individuals whom
    6   Apple itself had identified as knowledgeable); Dkt. No. 236, at 1 (“Apple’s aim is
    7   not to prevail; it is to create delay by standing on meritless positions and forcing the
    8   Court to rule on an excessive number of discovery disputes.”); Dkt. No. 248, at 1
    9   (“Apple’s habitual refusal to confer in good faith has again prejudiced Qualcomm
   10   and burdened the Court by manufacturing unnecessary disputes and wasting
   11   valuable time, rather than making legitimate progress.”).) In fact, despite having
   12   over a year to consider the issue, Apple has not even settled on the methodology it
   13   is willing to apply to review and produce documents in these cases that it agreed to
   14   produce months ago. (Earnhardt Decl. at ¶ 3.)
   15          The CMs have been similarly unwilling to cooperate in discovery. Despite
   16   Qualcomm first seeking basic information about potential custodians from the CMs
   17   in August 2017 and serving its First Set of RFPs in September 2017, it was not until
   18   December 2017, and then only after a motion to compel in the N.D. Cal. Cases, that
   19   the CMs provided metrics on their search terms or information about proposed
   20   custodians that could have facilitated resolution. (Dkt. No. 228; Earnhardt Decl. at
   21   ¶¶ 9-10.) Even now, over four months after Qualcomm’s First Set of RFPs, the
   22   parties still do not have agreed upon custodians and search terms. (Earnhardt Decl.
   23   at ¶ 11.)
   24          Apple’s and the CMs’ dilatory tactics are not limited to the S.D. Cal. cases.
   25   Apple produced its documents in N.D. Cal. only as a result of five motions, five
           1
   26        Apple and the CMs claim they have no way to know what Qualcomm agreed
        to produce in the N.D. Cal Cases. Not so. Qualcomm has provided copious detail
   27   regarding its N.D. Cal. productions, including a 36-page letter sent on September
        25, 2017. (Earnhardt Decl. ¶ 18.)
   28
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    1   status reports, five court conferences and the imposition of significant monetary
    2   sanctions. See FTC v. Qualcomm Inc., No. 5:17-cv-00220 (N.D. Cal.), Dkt. No.
    3   421, at 2, dated Dec. 21, 2017 (“[T]he Court ORDERS a sanction of $25,000.00 per
    4   day . . . until document production is complete.”); (Earnhardt Decl. at ¶ 7.) For the
    5   CMs’ part, despite two motions, five status reports and four court conferences, they
    6   have still not completed their N.D. Cal. productions. (Earnhardt Decl. at ¶ 13-15.)
    7   In fact, the CMs are also facing possible sanctions after ignoring the N.D. Cal.
    8   court’s January 5, 2018 production deadline. The court has allowed them one last
    9   chance to comply by January 26, 2018. (Dkt. No. 493.)
   10         Apple and the CMs are also attempting to use the existence of open
   11   discovery disputes as an excuse for extending the schedule. For example, Apple
   12   and the CMs now suggest that they cannot meet a February 28, 2018 substantial
   13   completion deadline because open discovery disputes require them to make
   14   significant additional productions. But this is like throwing a brick through a
   15   window and then complaining about a draft; these discovery disputes exist only
   16   because Apple and the CMs have consistently refused to produce relevant
   17   documents. Any burden imposed by a February 28, 2018 deadline is entirely the
   18   creation of Apple’s and the CMs’ unwillingness to engage in proper discovery,
   19   which cannot—under any standard—be deemed “good cause” for amending the
   20   schedule. Indeed, Apple and the CMs are even attempting to prevent resolution of
   21   those open discovery disputes by arguing that the upcoming February 7, 2018
   22   hearing should be limited to “procedural” issues and not involve the merits. If
   23   anything, Apple’s and the CMs’ conduct is another reason to set a substantial
   24   completion deadline, and to threaten them with sanctions if they do not meet it,
   25   which has been the only way to get them to produce documents thus far.
   26         In short, there has been nothing “diligent” about the conduct of Apple or the
   27   CMs here. Far from it. Instead, they have been intentionally seeking to delay this
   28   case. As Magistrate Judge Cousins concluded during a January 17, 2018 hearing
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    1   for the N.D. Cal. Cases, Apple and the CMs are doing so because they have decided
    2   it is “economically beneficial to delay”. (Earnhardt Decl., Ex. 1, at 13:12-13.)
    3          C.    Qualcomm Will Be Prejudiced by a Change in the Schedule.
    4          Apple’s lack of diligence is sufficient to deny their motion. Severe prejudice
    5   to Qualcomm serves as an “additional reason[]”. Johnson, 975 F.2d at 609.
    6          Because Apple has instructed the CMs not to pay Qualcomm any royalties,
    7   Qualcomm is missing out on nearly $1 billion of revenue each quarter. Thus, the
    8   four-month delay proposed by Apple and the CMs means another $1 billion in
    9   royalties withheld from Qualcomm and another four months before Qualcomm can
   10   have a trial to decide whether it gets that money back. 2 But Qualcomm is also
   11   prejudiced even within the confines of these cases. Qualcomm took the Court’s
   12   schedule seriously and has made a number of compromises in discovery disputes to
   13   ensure it would be able to timely produce its documents and be prepared for fact
   14   depositions and expert discovery as the Court ordered. (Earnhardt Decl. at ¶ 17.)
   15   Although Qualcomm does not agree that such discovery is warranted, Qualcomm
   16   was willing to produce those documents to keep these cases on schedule. Apple’s
   17   proposal would render Qualcomm’s good-faith meaningless.
   18          D.    Apple’s Schedule Is Illogical.
   19          Apple’s and the CMs’ schedule rests on a mistaken premise—that fact
   20   discovery must end before expert discovery can begin. To the contrary, because
   21   expert discovery may result in the need for further factual development, it can be
   22   advantageous to allow for additional fact discovery after opening expert reports.
   23   This approach spares the parties and the Court from unnecessary motion practice
   24   regarding whether and to what extent to reopen fact discovery.
           2
   25        Apple and the CMs contend that Judge Curiel’s denial of Qualcomm’s
        preliminary injunction motion somehow justifies their dilatory conduct. It does not.
   26   To the contrary, Judge Curiel acknowledged that nearly $1 billion per quarter of
        withheld payments are “weighty sums”, and did “not doubt the significance of these
   27   payments to Qualcomm’s enterprise.” (Dkt. No. 138, at 4.) Judge Curiel stated he
        would “expeditiously” move these cases forward. (Id. at 30.)
   28
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    1          Apple and the CMs are complaining about an element of the current schedule
    2   that has been in place since the Court first set it in August 2017. The Court’s
    3   schedule has always contained a single deadline for the close of fact and expert
    4   discovery. If Apple and the CMs believed that such an arrangement prejudiced
    5   experts, they should have raised the matter promptly, not five months after-the-fact.
    6          Apple’s and the CMs’ proposal is also unworkable on its face. Although
    7   Apple and the CMs refuse to commit to a substantial completion of document
    8   production deadline of February 28, 2018, they propose maintaining May 11, 2018
    9   as the close of fact discovery. Apple and the CMs admit that they are likely to
   10   return to the Court in the near future to seek to adjust that date as well. In other
   11   words, their proposed schedule is just another mechanism to create additional delay.
   12   III.   IF THE COURT IS INCLINED TO CHANGE THE SCHEDULE,
   13          QUALCOMM’S PROPOSAL SHOULD BE ADOPTED
   14          Qualcomm is prepared to continue under the current schedule. But, as
   15   Qualcomm explained to Apple and the CMs, Qualcomm also is willing to make
   16   certain adjustments to respond to the concerns they have raised so long as those
   17   adjustments do not delay trial. Qualcomm’s proposed adjustments accomplish this.
   18          First, Qualcomm proposes a deadline of February 28, 2018 for substantial
   19   completion of document production. Combined with the staggered fact discovery
   20   deadlines of May 11, 2018 and June 18, 2018, that date ensures that document
   21   production will be complete in time to allow the parties to conduct fact depositions
   22   and complete expert discovery. Apple and the CMs suggest that they cannot meet
   23   this deadline; not only is that a problem entirely of their own creation, but it is also
   24   is unbelievable. Apple is one of the richest companies in the world, and it clearly
   25   has the necessary resources to bring to bear. When threatened and ultimately
   26   sanctioned in the N.D. Cal. Cases, Apple was able to produce almost two million
   27   documents in just the month of December. (Earnhardt Decl. at ¶ 8.)
   28          Second, Qualcomm proposes a staggered fact discovery deadline to
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    1   accommodate a staggered schedule between fact and expert discovery. Qualcomm
    2   proposes that the deposition of any witness another party requires for expert
    3   discovery or summary judgment be concluded by the current fact discovery
    4   deadline of May 11, 2018. Qualcomm also proposes that the date for initial expert
    5   reports be moved to May 18, 2018. 3 This would enable experts to consider the
    6   factual record in full before submitting reports and the parties to prepare summary
    7   judgment filings by the Court’s current deadline of June 22, 2018. Any deposition
    8   not requested by a party for fact or expert discovery could be taken by June 18.
    9          Apple’s and the CMs’ response simply misconstrues Qualcomm’s proposal
   10   and contends, incorrectly, that all fact discovery would continue during expert
   11   discovery. They ignore that, before expert discovery begins, all written discovery
   12   will be complete and any witness that any party requires for expert discovery or
   13   summary judgment will have been deposed. Apple and the CMs also assert that
   14   their experts need at least three months to reflect upon the factual record before
   15   providing their reports. But that supposed concern is completely unsubstantiated.
   16   Who are those experts? What facts do they need to consider that they do not have?
   17   Qualcomm offered to prioritize discovery needed by Apple’s and the CMs’ experts,
   18   but they have never identified what that discovery would be.
   19          Much of the expert testimony in these cases will be dependent on document
   20   discovery and other information that is already available. Under Qualcomm’s
   21   proposed schedule, experts retained by Apple and the CMs would have all of the
   22   relevant documents by February 28, 2018—nearly three months before
   23   Qualcomm’s proposed expert deadline. And many of the depositions will have
   24   been taken by March 30, 2018 regardless because they will be coordinated with the
   25   N.D. Cal. Cases and must be finished by the fact discovery cut-off there. In the
   26      3
            Qualcomm’s proposal also clarifies that the expert reports due on
   27   May 18, 2018 will be those for issues upon which the party bears the burden of
        proof. All other reports will be due June 18, 2018.
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    1   N.D. Cal. Cases—which, by Apple’s and the CMs’ admission, involve substantially
    2   similar issues and thus similar topics of expert discovery—there is less than a
    3   month between the close of fact discovery and the plaintiff’s opening expert reports
    4   (March 30, 2018 to April 20, 2018). (Earnhardt Decl. at ¶ 16.) None of the parties
    5   there suggested that its experts need several months to understand the record. 4
    6          Third, Qualcomm proposes an August 8, 2018 deadline for Daubert motions
    7   and motions in limine. Modifying that deadline ensures that Daubert motions
    8   follow expert discovery and that the parties will have exchanged witness lists,
    9   deposition designations and intended trial exhibits before they move to exclude any
   10   evidence. Relatedly, Qualcomm proposes the parties meet and confer to agree on
   11   deadlines for specific pre-trial disclosures.
   12          Fourth, Qualcomm proposes the Court set trial for the first available date on
   13   or after October 15, 2018. Setting a trial date now ensures these cases can go to
   14   trial in 2018 and would thwart any further attempt by Apple and the CMs to
   15   prejudice Qualcomm by delaying the schedule.
   16   IV.    CONCLUSION
   17          Qualcomm respectfully requests that the Court either adopt Qualcomm’s
   18   proposed revisions to the Scheduling Order or make no changes at all.
   19
           4
   20         Apple is wrong to argue that the FTC case should be tried before these cases.
        The Court entered the current Scheduling Order in August 2017 when the FTC trial
   21   date already was set. Apple did not object in August 2017, and nothing has
        changed since—Qualcomm is still being deprived of nearly $1 billion it is owed
   22   under the CMs’ license agreements every quarter. Moreover, the FTC case is not
        narrower than the S.D. Cal. cases. Among other reasons: (i) Apple’s and the CMs’
   23   antitrust claims are different from (and, in some ways, contradict) the FTC’s
        antitrust claims; (ii) the S.D. Cal. cases involve a focused commercial dispute
   24   between contractual counterparties, while the FTC case is a broader investigation of
        various aspects of Qualcomm’s relationships with multiple third parties; and
   25   (iii) although the S.D. Cal. cases involve some narrow patent issues, those have
        been set on a separate but parallel track. Put simply, there is no reason to delay a
   26   focused jury trial regarding what Apple and the CMs should pay Qualcomm to
        allow a separate court to opine on different claims under different theories
   27   regarding a much broader set of parties. Certainly the dilatory conduct of Apple
        and the CMs does not provide that basis.
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    1   Dated: January 19, 2018      Respectfully submitted,
    2
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                                              QUALCOMM’S MPA IN SUPPORT OF JOINT MOTION
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    1
                                 CERTIFICATE OF SERVICE
    2
              I hereby certify that a true and correct copy of the above and foregoing
    3
        document has been served on January 19, 2018 to all counsel of record who are
    4
        deemed to have consented to electronic service via the Court’s CM/ECF system.
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